                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION


GERI BACHMAN,                                       )
                                                    )
                                    Plaintiff(s),   )
                                                    )
 vs.                                                )     No.   23-00931-CV-W-FJG
                                                    )
HICKMAN MILS C-1 SCHOOL DISTRICT, et al.,           )
                                                )
                                  Defendant(s). )


                                  SCHEDULING ORDER

        Counsel should note paragraph 7(a)(3), regarding depositions of experts’
 witnesses.
        1.     TIMELINESS OF SUBMISSIONS. The parties and counsel are advised
 that any filing or submission made after 5:00 p.m. will not be reviewed by the Court until
 the next business day.
        2.     PROTECTIVE ORDERS
               Counsel are advised that protective orders shall be issued upon motion of
 counsel only. The proposed protective order shall be emailed to the courtroom deputy in
 Word format at Christy_Anderson@mow.uscourts.gov.
               In the event that the parties are unsuccessful in reaching an agreement on
 a proposed protective order, the Court refers the parties to the Manual for Complex
 Litigation, Fourth ' 40.27 for a sample protective order.
               Issues subject to protective orders under Fed. R. Civ. P. 26 (c)(5) must be
 raised by written motion prior to the scheduling of the pertinent depositions citing the




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Agood cause@ in specific detail.
         3.       INDEX
                  Counsel should note that the scheduling index is provided for their convenience
only. All parties are directed to review the entire text of this order. The schedules fixed
herein will not be extended except for good cause shown and upon further written order of the
Court.


                                             I. INDEX

1.       Close of discovery                                    January 15, 2025

2.       Motion to join additional parties                     September 2, 2024

3.       Motion to amend pleadings                             September 2, 2024

4.       Motion for summary judgment                           February 17, 2025

5.       Other motions                                         February 17, 2025

6.       Supplement to discovery response                      Ten days before pretrial
                                                               teleconference
7.       Plaintiff expert report(s)                            September 13, 2024
         Defendants expert report(s)                           November 15, 2024
         Rebuttal report(s)                                    December 15, 2024
         Challenges/Daubert motions                            February 17, 2025

8.       Status report                                         December 15, 2024


         Pursuant to Rules 16(b) and 26(f), Fed. R. Civ. P., and upon consideration of the
parties' proposals in the matter, the following time schedule is established.
         1.       DISCOVERY
                  Discovery shall close as of January 15, 2025. Close of discovery means that
all discovery, including depositions, shall be completed not simply submitted on the
date specified by this paragraph. Any last minute discovery submitted


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too late for the opposing side to timely discover may be stricken.          Counsel
should also note that the Court expects discovery to proceed in a timely manner.
The filing of a dispositive motion does not preclude the parties from conducting
discovery.
              a.     The Court reserves the right to exercise control over the taking of
depositions in any case. The Court may either limit the total number of depositions or
place a time limitation on the taking of depositions in general.   Any proposed
deposition lasting longer than seven hours requires prior approval by the Court.
Proposing counsel shall file a motion explaining the justification for such
deposition(s).
              b.     Any discovery motion must be filed before the close of
discovery, and in sufficient time for the Court to rule the motion.        The Court will
not entertain any discovery motion absent full compliance with Local Rule 37.1.       Any
discovery motion filed without complying with Local Rule 37.1 will be denied.
              c.     In the event that a teleconference is needed, please email your
request to my chambers at christy_anderson@mow.uscourts.gov. The request should
include a typed description of the discovery dispute, using a 12 pitch font and not
exceeding two pages in length. These teleconferences are intended to resolve one or
two issues that do not require authoritative briefing.    Where multiple and complex
issues are involved, motion practice is appropriate. If you have questions regarding the
appropriateness of your dispute for a teleconference, please call chambers at 816-512-
5630.
        2.    MOTION TO JOIN ADDITIONAL PARTIES
               Any motion to join additional parties will be filed no later than September
2, 2024. Where a motion to join additional parties is granted, counsel may file a motion
to amend the current scheduling order if needed.

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3.    MOTION TO AMEND PLEADINGS
       Any motion to amend pleadings shall be filed no later than September 2, 2024.


4.    MOTIONS FOR SUMMARY JUDGMENT
      All motions for summary judgment shall be filed no later than February 17, 2025.
      Further, no motion for summary judgment will be entertained absent strict
      compliance with the following provisions:
             a.     Any motion for summary judgment shall fully comply with the
provisions set forth in Local Rule 7.0; and
              b.     No deviations from Local Rule 7.0 will be allowed absent leave of
Court obtained PRIOR to filing non-conforming documents. Unless prior Court
approval is granted, motions for leave to deviate from Local Rule 7.0 that are filed
contemporaneously with a non-conforming filing shall be denied.
       5.     OTHER MOTIONS
              All other motions, except those which, under Rule 12(h)(2) or (3), Fed. R.
Civ. P., may be made at any time, and except for motions in limine and discovery
motions, shall be filed (with supporting suggestions) no later than February 17, 2025.
Absent full compliance with Rule 7.0, these motions will be denied.
       6.     SUPPLEMENT TO DISCOVERY RESPONSES
              Any supplement to discovery responses under Rule 26(e), Fed. R. Civ. P.
will be filed no later than ten days before the scheduled pretrial teleconference.   This
obligation extends to expert affidavits.
       7.     EXPERT TESTIMONY.
              a.     A party shall disclose to other parties the identity of any person who
may be used at trial to present evidence under Rules 702, 703, or 705, Fed. R. Evid.
                     1.     Standard discovery deadlines include submission of expert




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reports required by Rule 26(a)(2)(B), Fed. R. Civ. P., for all witnesses retained or
specially employed to provide expert testimony or whose duties as the party’s employee
regularly involve giving expert testimony. Plaintiff shall submit its expert report no later
than September 13, 2024. Defendants no later than November 15, 2024. Rebuttal no
later than December 15, 2024. These deadlines also apply to the disclosures of
witnesses under Rule 26(a)(2)(C), Fed. R. Civ. P., for whom no reports are required.
                        2.     Any Daubert motion or other challenge to a proposed expert

under Rules 26(a)(2)(B) or 26(a)(2)(C) must be filed no later than February 17, 2025.

Objections not raised by this deadline may not be raised for the first time at trial.

                        3.     No expert depositions or other expert discovery shall be

taken without a Court order. The party requesting further discovery shall file a motion

specifying what additional discovery is needed, and stating in detail why additional

discovery is necessary. This motion shall be filed no later than five days before the

close of discovery. This request for additional discovery will not be automatically

granted.

              b.        One of the purposes of the Rule 26(a)(2)(B) expert report is to set

forth the substance of a direct examination. If properly done, the expert report should

eliminate the need for deposing some experts. Consequently, detailed statements in the

report are essential.

              c.        A party's expert witness will be permitted to testify at trial only in
conformity with that witness's report unless otherwise ordered by the Court.
              d.        Any expert report or disclosure to be submitted under this section
shall be filed with this Court on ECF by the deadlines provided in 7(a)(1).
              e.        If a witness is not required to provide a written report under Rule
26(a)(2)(B), Fed. R. Civ. P., the party naming that witness must prepare a disclosure

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 indicating (1) the subject matter on which the witness is expected to present evidence
 under Federal Rule of Evidence 702, 703, or 705; and (2) a summary of the facts and
 opinions to which the witness is expected to testify. Rule 26(a)(2)(C), Fed. R. Civ. P.
 These disclosures are due on the same dates as set forth in 7(a)(1).        Daubert motions
 or other challenges to Rule 26(a)(2)(C) witnesses are due on the same dates as set
 forth in 7(a)(2).
        8.      STATUS REPORTS
                The parties shall file a joint status report outlining the progress of this case
 and advising the Court of any potential problems related to discovery or any other
 matters. This report shall be due on or before December 15, 2024.
II.                                            TRIAL
                Trial will be set by future order.
        IT IS SO ORDERED.


                                                     /s/Fernando J. Gaitan, Jr.
                                                     Fernando J. Gaitan, Jr.
                                                     United States District Judge
 Dated: April 12, 2024
 Kansas City, Missouri




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